              Case 04-10427-reg        Doc 569     Filed 03/07/05     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN THE MATTER OF:

AUBURN FOUNDRY, INC.,                        )      CASE NO. 04-10427
                                             )      CHAPTER 11
                      Debtor.                )

   SECOND AMENDED NOTICE OF MOTION AND OPPORTUNITY TO OBJECT
        On January 12, 2005, Ice Miller, filed its Third Application of Ice Miller for Interim
Allowances as Counsel for the Official Creditors’ Committee and for Reimbursement of
Expenses (the “Application”) and proposed Order for entry by the Court. The Application seeks
approval of interim professional fees of $14,043.00 and reimbursement of expenses of $689.98,
all without prejudice to the rights of any party-in-interest to object to the interim allowance of
fees and expenses to Ice Miller. A copy of the Application is attached to this notice.

      Your rights may be affected. You should read these papers carefully and discuss
them with your attorney. If you do not have an attorney, you may wish to consult one.

       If you do not want the court to grant the motion, then within 20 days from the date of
this Notice, you or your attorney must:

        1.      File a written objection to the motion, which should explain the reasons why you
object, with the Clerk of the United States Bankruptcy Court at:

                                     Office of the Clerk
                                     United States Bankruptcy Court
                                     1300 South Harrison Street
                                     P.O. Box 2547
                                     Fort Wayne, Indiana 46801-2547

        If you mail your objection, you must mail it early enough so that it will be received by
the date it is due.

       2.      You must also mail a copy of your objection to:

                                     Henry A. Efroymson
                                     Niquelle R. Allen
                                     Ice Miller
                                     One American Square, Box 82001
                                     Indianapolis, Indiana 46282-0200
              Case 04-10427-reg     Doc 569     Filed 03/07/05    Page 2 of 2




                                  Ellen L. Triebold
                                  Office of the United States Trustee
                                  100 East Wayne Street, Suite 555
                                  South Bend, Indiana 46601

                                  John R. Burns
                                  Mark A. Werling
                                  Baker & Daniels
                                  111 East Wayne Street, Suite 800
                                  Fort Wayne, Indiana 46802-2603

       If you do not file an objection by the date it is due, the Court may grant the relief
requested without holding a hearing. If you do file an objection, the Court will set the
Application for hearing, which you or your attorney will be expected to attend.



Date: March 7, 2005

                                                 ICE MILLER


                                                 /s/ Henry A. Efroymson
                                                 Henry A. Efroymson
                                                 Niquelle R. Allen
                                                 Ice Miller
                                                 One American Square, Box 82001
                                                 Indianapolis, Indiana 46282-0200
                                                 (317) 236-2100 Telephone
                                                 (317) 236-2219 Facsimile
                                                 henry.efroymson@icemiller.com
                                                 niquelle.allen@icemiller.com


                                                 Attorneys for the Official Creditors’
                                                 Committee of Auburn Foundry, Inc.




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